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                   10

                   11                                   UNITED STATES DISTRICT COURT

                   12                                  NORTHERN DISTRICT OF CALIFORNIA

                   13                                          SAN JOSE DIVISION

                   14      MONTEREY BAY MILITARY HOUSING,
                           LLC, CLARK PINNACLE MONTEREY BAY             Case No. 5:14-CV-03953 BLF
                   15      LLC, CLARK MONTEREY PRESIDIO LLC,
                           CALIFORNIA MILITARY COMMUNITIES              NOTICE OF MOTION AND MOTION
                   16      LLC, CLARK PINNACLE CALIFORNIA               OF PLAINTIFFS TO DISSOLVE
                           MILITARY COMMUNITIES LLC and CLARK           PRELIMINARY INJUNCTION
                   17                                                   PURSUANT TO FEDERAL RULE OF
                           IRWIN, LLC,
                                                                        CIVIL PROCEDURE 59(e) AND
                   18                    Plaintiffs,                    MEMORANDUM OF POINTS AND
                   19                                                   AUTHORITIES THEREOF
                                  vs.
                   20                                                   DATE: January 29, 2015
                           PINNACLE MONTEREY LLC, PINNACLE
                   21      IRWIN LLC, AMERICAN MANAGEMENT
                           SERVICES CALIFORNIA INC., AMERICAN           TIME: 9:00 a.m.
                   22      MANAGEMENT SERVICES LLC D/B/A
                           PINNACLE, GOODMAN REAL ESTATE,               COURTROOM: 3, Fifth Floor
                   23      INC., GOODMAN FINANCIAL SERVICES,
                           INC., STANLEY HARRELSON and JOHN             JUDGE: Hon. Beth. L. Freeman
                   24
                           GOODMAN,
                   25                    Defendants.
                   26

                   27      AND RELATED CROSS-COMPLAINT:

                  28

Kirkland & Ellis LLP
                                                                                    Plaintiffs’ Motion to Dissolve Preliminary Injunction
3330 Hillview Avenue                                                                Monterey Bay Military Housing v. Pinnacle Monterey
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                       1   PINNACLE IRWIN, LLC and PINNACLE
                           MONTEREY, LLC,
                       2

                       3               Plaintiffs,

                       4         vs.

                       5   CLARK REALTY CAPITAL, L.L.C., CLARK
                           PINNACLE MONTEREY BAY LLC, CLARK
                       6
                           PINNACLE CALIFORNIA MILITARY
                       7   COMMUNITIES LLC, and DOES 1-25,
                           INCLUSIVE,
                       8
                                      Defendants.
                       9   AMERICAN MANAGEMENT SERVICES
                           CALIFORNIA INC. AND AMERICAN
                   10
                           MANAGEMENT SERVICES LLC (D/B/A
                   11      PINNACLE),

                   12                  Counterclaimants,
                   13      v.
                   14
                           MONTEREY BAY MILITARY HOUSING LLC
                   15      AND CALIFORNIA MILITARY
                           COMMUNITIES LLC
                   16
                                       Counterdefendants.
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Kirkland & Ellis LLP
                                                                              Plaintiffs’ Motion to Dissolve Preliminary Injunction
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                                                                                                 iii                Plaintiffs’ Motion to Dissolve Preliminary Injunction
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                       1                            MOTION AND NOTICE OF MOTION
                       2         PEASE TAKE NOTICE that on January 29, 2015 at 9:00 a.m., or as soon thereafter
                       3   as the matter can be heard, in the courtroom of the Honorable Beth L. Freeman located at
                       4   280 South First Street San Jose, California 95113, Plaintiffs will, and hereby do, move for an
                       5   order granting Plaintiffs Motion to Dissolve Preliminary Injunction Pursuant to Federal Rule
                       6   of Civil Procedure 59(e). The Motion will be based on this Notice of Motion and Motion,
                       7   the Memorandum of Points and Authorities Below, the Declaration(s) of Daniel C. Moore
                       8   and the Proposed Order filed herewith.
                       9         Pursuant to Federal Rule of Civil Procedure Rule 59(e) Plaintiffs respectfully request
                   10      this Court vacate the December 26, 2012 Order of the Monterey Superior Court and dissolve
                   11      the preliminary injunction.
                   12
                           DATED: September 21, 2014                    Respectfully submitted,
                   13                                                   KIRKLAND & ELLIS LLP
                   14
                                                                        /s/ Marc H. Cohen
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                                                                          1             Plaintiffs’ Motion to Dissolve Preliminary Injunction
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                       1                       MEMORANDUM OF POINTS AND AUTHORITIES
                       2                                            INTRODUCTION
                       3
                                    Plaintiffs respectfully request that the Court dissolve a prior order of the State Court that
                       4
                           prevents the Plaintiffs, as principals and owners, from revoking the agency of their property
                       5
                           manager, Defendant American Management Services California, Inc. (“AMSC” or the “Property
                       6
                           Manager”). Plaintiffs (effectively owned 49% by the U.S. Army, 35% by Clark Realty Capital and
                       7
                           16% by individuals associated with the Defendants AMS and AMSC) own, develop and manage the
                       8
                           privatized military housing at Fort Irwin and the Presidio at Monterey (“Irwin Project” and
                       9
                           “Monterey Project”, collectively, the “Projects”).       While these separate legal entities that are
                   10
                           affiliated with AMSC thus have an indirect membership interest in Plaintiffs, AMSC itself holds no
                   11
                           interest (direct or indirect) in Plaintiffs or in the Projects, other than serving as the Property Manager
                   12
                           in exchange for fees.
                   13
                                    Plaintiffs contracted with the Property Manager to act as their agent to provide property
                   14
                           management services at these Projects for a 50-year term, subject to automatic termination for “theft,
                   15
                           fraud or other knowing or intentional misconduct.”         Based on the sworn declarations of former
                   16
                           Property Manager employees, many only recently obtained, the Property Manager and its employees
                   17
                           have engaged in a long pattern of fraud and intentional misconduct in managing the Projects. As
                   18
                           alleged in the Fourth Amended Complaint, this intentional misconduct includes (among other things)
                   19
                           falsifying project documents relating to the time taken to respond to resident work orders, and
                   20
                           closing open work orders prior to completing the work (all to increase the Property Manager’s
                   21
                           incentive fee compensation), creating potential life-safety risks for military families.
                   22
                                    Plaintiffs, acting through their managing members and with the full support of the Army,
                   23
                           sought to terminate the agency of their Property Manager at both Projects, consistent with California
                   24
                           statute and the state’s strong policy against forcing a principal to continue to employ a disloyal
                   25
                           agent.    However, in a preliminary injunction ruling, the California State Court found (while
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                           acknowledging that its ruling would be settled on appeal) that the Property Manager had an agency
                   27
                           coupled with an interest and that Plaintiffs did not have the statutory power to revoke the agency,
                   28

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                                                                                2              Plaintiffs’ Motion to Dissolve Preliminary Injunction
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                       1   and thus enjoined Plaintiffs from “revoking the PMAs” without Court approval. It is undisputed,
                       2   however, that the Property Manager has no equity or other interest in the Projects. Rather, its sole
                       3   role is to act as property manager in exchange for fees. The State Court’s ruling is thus plainly in
                       4   error as it directly contradicts well-settled California law that holds that for an agency coupled with
                       5   an interest to exist, the agent must have a vested interest different and apart from the agent contract.
                       6   Pacific Landmark Hotel, Ltd. v. Marriott Hotels, Inc. (“Pacific Landmark”), 23 Cal. Rptr.2d 555,
                       7   557 (Cal. Ct. App. 1993) (“[N]either defendants nor the court below could identify any “interest . . .”
                       8   other than to assert [manager] has an interest through “Marriott and its affiliates' ” interests. Such,
                       9   however, does not recognize the separate corporate entities to this business transaction.”).
                   10             The need to remove this unwanted agent is particularly acute here. The State Court’s
                   11      injunction order has been on appeal to the California Court of Appeal for 21 months without ruling,
                   12      and that appeal now has been mooted by removal to this Court. All the while, the Plaintiffs have
                   13      been forced to entrust property management duties to a disloyal agent who has committed multiple
                   14      acts of fraud, and according to their own former employees, continued to commit this fraud even
                   15      while this lawsuit and injunction were pending. What is worse, this fraud, which includes closing
                   16      open work orders prior to completing needed work on the housing of military families, creates a
                   17      palpable life-safety risk for soldiers and their families. Ex. 1, 9/19/2014 P. Cramer Decl. ¶¶ 6–7.
                   18      The Army has zero tolerance for fraud, accordingly it has approved the filing of this litigation and
                   19      fully supports removal of the Property Manager from its bases as soon as allowed. Id. at ¶¶ 3–4, 8;
                   20      Ex. 2, 12/12/13 J. Calcara Dep. Tr. 54:17-25. Delay in removing the Property Manager creates
                   21      further unfair prejudice given the inherent difficulty in detecting and remedying fraud. Permitting
                   22      the the Property Manager to continue to manage the Army facilities creates the potential destruction
                   23      of important evidence, which Pinnacle allowed in systematic fashion by destroying hard copy work
                   24      orders at Fort Irwin, the Presidio of Monterey, Fort Belvoir and Fort Benning.
                   25                                           STATEMENT OF ISSUES
                   26             On December 26, 2012, the Monterey Superior Court entered an Order granting a
                   27      preliminary injunction prohibiting Plaintiffs from exercising their statutory right to revoke the
                   28      agency of Defendant American Management Services California, Inc. This ruling was based on a

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                                                                               3             Plaintiffs’ Motion to Dissolve Preliminary Injunction
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                       1   clear error of law and Plaintiffs respectfully request this Court reconsider the State Court’s Order
                       2   and dissolve the preliminary injunction in accordance with Federal Rule of Civil Procedure 59(e)
                       3   and applicable California and federal law.
                       4                                        STATEMENT OF FACTS
                       5          Plaintiffs Monterey Bay Military Housing, LLC (“MBMH”) and California Military
                       6   Communities LLC (“CMC”) (collectively, the “Owners” or “Plaintiffs”) own and operate privatized
                       7   housing at the Presidio of Monterey and Fort Irwin, both U.S. Army bases located in California.1
                       8   The Owners retained Defendant AMSC as a property manager at the Projects pursuant to separate
                       9   (but substantially similar) Property Management Agreements. See Ex. 7, 10/01/2003 Monterey Bay
                   10      Military Housing, LLC Property Management Agreement (“Monterey PMA”); Ex. 8, 03/01/2004
                   11      California Military Communities, LLC Property Management Agreement (“Irwin PMA”) (together
                   12      “PMAs”). The terms of each PMA clearly state that the Property Manager is the Owners’ agent and
                   13      a manager only, and has no other interest in the Military Projects. Exs. 7 and 8, PMAs §10
                   14      (“Manager is engaged independently in the business of property management and acts hereunder as
                   15      an independent contractor. Nothing contained in this Agreement shall be construed as creating a
                   16      partnership, joint venture, or any other relationship between the parties to this Agreement,”)
                   17      (emphasis added); id. §22 (“This Agreement . . . constitutes the entire agreement between Owner[s]
                   18      and manager with respect to the management and operation of the Project”).
                   19             The Property Manager is owned and controlled by its parent company, Defendant American
                   20      Management Services LLC, which does business as Pinnacle (“AMS”). Stan Harrelson, the former
                   21      CEO of AMS, has admitted that the Property Manager is a manager only, and holds no equity
                   22
                           1
                   23          The United States Army has an interest in this lawsuit through its indirect ownership of Plaintiffs
                               and has certain approval rights pursuant to contract, but is not a party to this lawsuit. The Army
                   24          authorized this litigation, which seeks the removal of AMSC as property manager and the
                               recovery of damages for their wrongful acts, and has accordingly approved the litigation budgets
                   25          and monies spent in connection with this suit. See Ex. 2, 12/12/2013 J. Calcara Dep. Tr. 34:18-
                               36:23; see also Ex. 3, 1/27/2014 P. Cramer Dep. Tr. 334:20-335:5; Ex. 4, 1/28/2014 M. Connor
                   26          Dep. Tr. 430:14-18. Additionally, the Army fully supports the prompt removal of AMSC as
                               Property Manager. See Ex. 5, 9/27/2012 Letter Agreement between MBMH and U.S. Army
                   27          (authorizing removal of Property Manager by U.S. Army); Ex. 6, 9/27/2012 Letter Agreement
                               between CMC and U.S. Army (same); see also Ex. 2, 12/12/2013 J. Calcara Dep. Tr. 54:11–25
                   28          (“fraud does not have scalability in the federal government.”).


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                                                                              4              Plaintiffs’ Motion to Dissolve Preliminary Injunction
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                       1   interest in the military Projects. Ex. 9, 7/16/2012 S. Harrelson Dep. Tr. 13:3–8 (Q. “And am I also
                       2   correct that AMS California has no ownership interest in the Monterey Bay project, apart from its
                       3   property management agreement? A. AMS of California, Inc. is not a named owner, equity owner
                       4   of the project….”) (emphasis added). Defendants have made the same admission in discovery
                       5   responses. Ex. 10, 10/22/2012 Defs.’ Resps. to Pls. RFAs 1–4 (“Defendants “admit” that “American
                       6   Management Services California, Inc. has no ownership interest in Monterey Bay Military Housing,
                       7   LLC.”).
                       8          Plaintiffs are managed by Clark Pinnacle Monterey Bay LLC and Clark Pinnacle California
                       9   Military Communities LLC, respectively (collectively, the “CP Companies”). See Ex. 11, MBMH
                   10      Operating Agreement, § 1; Ex. 12, CMC Operating Agreement, § 1. The CP Companies each have a
                   11      70% majority member, and a 30% minority member. The majority member in each is a Clark Realty
                   12      Capital affiliate. The minority members, each a special purpose entity of which certain Pinnacle
                   13      executives are members, are called “Pinnacle Monterey LLC” and “Pinnacle Irwin LLC” (“Pinnacle
                   14      Minority Members”). See Ex. 13, CP Monterey Operating Agreement § 1; Ex. 14, CP Irwin
                   15      Operating Agreement § 1; Ex. 9, 7/16/2012 S. Harrelson Dep. Tr. 10:17–12:12; id. at 16:8–25.
                   16      AMSC—the Property Manager—does not hold equity in Plaintiffs and is not a member in Pinnacle
                   17      Monterey or Pinnacle Irwin. Stan Harrelson, who also is one of the members of the Pinnacle
                   18      Minority Members, explained that the equity investment was intentionally decoupled from the
                   19      Property Manager’s agency because they wanted to limit the risk-exposure of their equity
                   20      investment.2 Ex. 15, 10/23/2012 S. Harrelson Dep. Tr. 75:16–76:15 (“[T]here are risks associated
                   21      with the management company that we think had no bearing on the equity position held at the
                   22      Pinnacle Monterey level.”).3
                   23

                   24
                           2
                   25          The State Court, in holding that the conglomerate “Pinnacle” (defined as four distinct entities)
                               held an agency coupled with an interest thus erroneously ignored the separate legal entities,
                   26          which are distinct from the manager entity that acts as Plaintiffs’ agent. See Pac. Landmark, 23
                               Cal. Rptr.2d at 557.
                   27      3
                               For the Court’s reference, Plaintiffs have attached structure charts setting forth the legal structure
                   28          at the Projects as Exhibits 16 and 17.


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                                                                                5              Plaintiffs’ Motion to Dissolve Preliminary Injunction
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                       1          A.      Fraud and Intentional Misconduct by the Property Managers at the Military
                                          Projects.
                       2
                                  Affiliates of Plaintiffs own and operate related housing Projects at Fort Benning, Georgia,
                       3
                           and Fort Belvoir, Virginia. Another AMS subsidiary (American Management Services East LLC
                       4
                           (“AMSE”)) was hired as property manager at those bases pursuant to substantially similar property
                       5
                           management agreements to those at the California Projects. In fall 2009, outside auditors were
                       6
                           engaged on behalf of the Benning Owner, after AMSE fired its top three management employees at
                       7
                           Fort Benning. The audit helped to uncover a series of widespread frauds and intentional misconduct
                       8
                           by AMSE and other AMS employees at Fort Benning, including falsification of project documents
                       9
                           relating to work orders. 4 As later discovered, similar fraud and misconduct by AMS and AMSE
                   10
                           employees occurred at Fort Belvoir. 5 These findings of widespread work order fraud (intended to
                   11
                           increase the property manager’s incentive fee compensation) were corroborated by investigations
                   12
                           conducted by retired U.S. Colonel Robert Zebrowski and an internal investigation by Defendants’
                   13
                           own human resources investigator Patrick Fulcher. Ex. 34, 5/16/2011 R. Zebrowski Report; Ex. 35,
                   14
                           1/20/2011 P. Fulcher Interview Notes.
                   15
                                  The Benning and Belvoir Owners initiated litigation against AMS and AMSE in Georgia,
                   16
                           and have removed the property manager AMSE at both Projects. The Georgia State Court
                   17
                           recently granted partial summary judgment for the Benning and Belvoir Owners on, holding that
                   18
                           “[t]he evidence presented was incontrovertible; Pinnacle and its employees committed knowing
                   19
                           and intentional misconduct” and that “[e]ach instance of misconduct serves as an independent
                   20
                           ground under which the PMAs have terminated.” Ex. 36, 3/20/2014 Order Granting Partial Summ.
                   21

                   22      4
                               For example, seven former AMS and AMSE employees admitted to personally changing work
                   23          orders from fails to passes, often at the direction of management, witnessed the same or knew
                               that the practice was base-wide. Ex. 18, 10/18/2011 V. Bussey Aff.; Ex. 19, 10/18/2011 C.
                   24          Cassidy Aff.; Ex. 20, 10/24/2013 D. Guinard Aff.; Ex. 21, 10/20/2011 J. Mackey Aff.; Ex. 22,
                               11/10/2011 E. Peters Aff.; Ex. 23, 10/19/2011 C. Yance Aff.; Ex. 24, 7/19/2013 D. White Aff.
                   25      5
                               Former AMS and AMSE employees at Fort Belvoir likewise admitted to personally changing
                   26          work orders from fail to passes, often at the direction of senior management, witnessed the same
                               or knew that the practice was base-wide. See Ex. 25, 1/22/2013 K. Alesi Aff.; Ex. 26, 1/22/2013
                   27          G. Boomer Aff.; Ex. 27, 8/2/2013 K. Centers Aff.; Ex. 28, 1/22/2013 J. Correa Aff.; Ex. 29,
                               8/02/2013 K. Larkey Aff.; Ex. 30, 8/10/2012 S. Ruggiero Aff.; Ex. 31, 4/02/2013 D. Smith Aff.;
                   28          Ex. 32, 2/15/2012 P. Zyzyk Aff.; Ex. 33, 1/22/2013 W. Gotay Aff.


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                       1   J. (emphasis in original). AMS and AMSE immediately appealed that partial grant of summary
                       2   judgment, and that appeal is pending.
                       3           After the discovery of fraud and intentional misconduct at Fort Benning and Fort Belvoir,
                       4   the Owners initiated audits of the Property Manager at Monterey and Irwin.                             No doubt
                       5   anticipating that the Owners would find similar fraud at Monterey and Irwin—as was uncovered at
                       6   Fort Benning and Fort Belvoir—in June 2011, the Pinnacle Minority Members tried to unilaterally
                       7   amend the provisions of the Monterey and Irwin PMAs. Ex. 37, 5/13/2011 Pinnacle Amendment
                       8   Letters. The proposed unilateral amendments would have permitted the Property Manager to “cure”
                       9   its own fraud, and would have prevented the PMAs from automatically terminating in the event the
                   10      Property Manager or its employees or agents commits “theft, fraud, or other knowing or intentional
                   11      misconduct.” Compare Exs. 7 and 8, PMAs §18.1(c); with Ex. 37, 5/13/2011 Pinnacle Amendment
                   12      Letters.   To protect the Projects, Plaintiffs filed suit in the Monterey Superior Court seeking
                   13      declarations that the proposed unilateral amendments violated the fiduciary duties that the Pinnacle
                   14      Minority Members owed as managers of the CP Companies and were void under California law,
                   15      which prevents a party from immunizing itself from its own fraud. See 4th Amend. Compl. ¶¶53–
                   16      63.
                   17              Subsequently, as alleged by Plaintiffs, the audit uncovered evidence of fraud and intentional
                   18      misconduct at the Monterey Project, including but not limited to falsification of work order data.
                   19      For example, Joshua Merrill, who held a variety of positions with the maintenance department,
                   20      testified that “[d]uring the time that Michelle Calloway was the Community Director, she also
                   21      told us that we had to change data to increase the pass percentages” and that he “believed that
                   22      [he] had to change the data in order to keep [his] job.” Ex. 38, 12/12/2011 J. Merrill Decl. ¶¶ 5–
                   23      7. Mr. Merrill corroborated that the falsification of work order data was done at the direction of
                   24      senior staff of the Property Manager. E.g., Ex. 39, 6/15/2012 J. Merrill Dep. Tr. 246:11–23; Id.
                   25      249:7–250:16. As discussed below, Plaintiffs have only recently discovered evidence that this
                   26      same pattern and practice of fraud and misconduct has occurred at Fort Irwin, and was ongoing
                   27      even after this lawsuit was filed and the State Court ruling was on appeal. See, e.g., Ex. 45,
                   28      8/5/2014 A. Arias Decl.; Ex. 46, 8/5/2014 T. Spears Decl.

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                       1          B.      The State Court Enjoins Plaintiffs from Revoking the Property Manager’s
                                          Agency.
                       2
                                  In March 2012, in light of the fraud and other knowing and intentional misconduct
                       3
                           discovered at Monterey, Plaintiffs filed a motion asking the State Court to clarify that Plaintiffs,
                       4
                           consistent with strong California policy allowing a principal to revoke an agency regardless of cause,
                       5
                           were permitted to remove the Property Manager under the PMA. Ex. 40, 3/28/2012 Pls. Mot. for
                       6
                           Partial Dissolution of Prelim. Inj.6 Defendants later moved for a preliminary injunction enjoining
                       7
                           Plaintiffs from revoking the Property Manager’s agency. Ex. 42, 10/2/2012 Defs. Ex Parte App. to
                       8
                           Show Cause.
                       9
                                  After oral argument on November 15, 2012, the State Court entered the preliminary
                   10
                           injunction enjoining statutory revocation of the agency, finding that “Pinnacle” (defined by the State
                   11
                           Court to include Pinnacle Monterey LLC, Pinnacle Irwin LLC, AMS, and the Property Manager
                   12
                           AMSC) had an irrevocable agency coupled with an interest and thus Owners did not have a statutory
                   13
                           right to revoke AMSC’s agency. The State Court went further, holding that “even if Pinnacle does
                   14
                           not have an agency coupled with an interest in the PMAs, Clark [defined by the State Court to
                   15
                           include seven separate legal entities, each with different contractual and other duties] … is enjoined
                   16
                           from revoking the PMAs because Clark owes Pinnacle a fiduciary duty.” Ex. 43, 12/26/2012 Order
                   17
                           Granting Prelim. Inj. In addition, the State Court held that “Pinnacle” would be irreparably harmed
                   18
                           by revocation of the Property Manager’s agency. Id. at ¶ 3. At argument, prior to issuing its order,
                   19
                           the State Court explained:
                   20
                                  I often think that my job is merely deciding who is going to be the appellant as we
                   21             move forward, and I find myself perhaps seduced, as [was the] trial court in Pacific
                                  Landmark, by the complexity of the arguments and the relationships; and it seems
                   22             that the provisions [in the Clark Pinnacle Operating Agreements] that initially
                                  established the agency, as we’ve talked about in Section 3.15(a)(3) [providing that the
                   23             Projects “shall enter into one or more property management agreements…with
                                  AMSC (in the case of the Irwin Project) or “Pinnacle Realty Management Company”
                   24             (in the case of MBMH)], is something that means AMSC does not stand alone as an
                                  agent.
                   25
                           6
                   26          The State Court had previously entered a vague injunction preventing Plaintiffs from “tak[ing]
                               actions that are based on their contention that the disputed provisions of the [PMAs] have not
                   27          been adjusted.” Ex. 41, 12/28/2011 Order. Out of an abundance of caution, Plaintiffs asked the
                               State Court to clarify that this did not enjoin Plaintiffs from exercising their statutory revocation
                   28          powers under California Civil Code § 2356.


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                       1          It seems to me that it is an agency coupled with an interest. But even if it’s not an
                                  agency coupled with an interest, there is — there has to be some kind of fiduciary
                       2          duty here when you have a minority partner who is being threatened with being
                                  removed in such a way that its only access to compensation is going to end, that
                       3          there’s something much more going on here than just a simple contract. So that’s
                                  what I think.
                       4

                       5   Ex. 44, 11/15/2012 Hr’g Tr. (79:25–81:4).

                       6          C.     Plaintiffs Discover Fraud and Intentional Misconduct at Fort Irwin.
                       7          In the past few months, numerous former employees of the Property Manager at Fort Irwin

                       8   have provided sworn testimony that they personally falsified project data relating to work orders,

                       9   including marking as “completed” or “pass” work orders where the work had not been completed (or

                   10      even started). Disturbingly, these witnesses establish that this falsification of work order data has

                   11      been ongoing—even during the pendency of the State Court’s injunction. For example, Alanso

                   12      Arias, a maintenance technician who worked at the Irwin Project from October 2011 to August 2013

                   13      (after the filing of the present lawsuit and entry of the preliminary injunction), stated that Wes

                   14      Campbell, the Maintenance Director, told him “to just bring the work orders to the office and write

                   15      on them that they were completed -- even though the work was not done” and that “I knew it was

                   16      wrong that open work orders were being closed out when the work wasn’t done, but I did what I was

                   17      told to do because I was worried about losing my job.” Ex. 45, 8/5/2014 A. Arias Decl. ¶¶ 2, 4–5.

                   18      Similarly, Timothy Spears, who worked at the Irwin Project between April 2004 and April 2012

                   19      (again after this lawsuit had commenced) stated that Wes Campbell instructed him to enter false

                   20      times on work orders in an effort “to have 95% or more of the work orders pass … even though the

                   21      times were not correct.” Ex. 46, 8/5/2014 T. Spears Decl. ¶¶ 2–4. And while the closing of work

                   22      orders under false times or when the work had never even been started has occurred recently, it

                   23      stretches back to the inception of the Irwin Project, as sworn to by former Maintenance Supervisor

                   24      and Facilities Manager, Harold Hernandez:

                   25             Based on [Community Director] Rick Wimer’s directions, I arbitrarily entered times
                                  and dates into the system for hundreds or more work orders in 2004, to make them
                   26             meet the correct time parameters. Jennifer Fraser showed me how to go into the
                                  system and change the dates and times to make them pass. It took me weeks,
                   27             working nights and weekends, to enter the data to make the work orders pass. I felt
                                  this was wrong, but I did what Rick Wimer told me I was expected to do. Wimer said
                   28             you will do what you have to do or you won’t have a future here.

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                       1   Ex. 47, 6/10/2014 H. Hernandez Decl. ¶¶ 2, 4. In addition, while the hard copy work orders used by
                       2   the Property Manager’s staff would perhaps be the best evidence (except for the ones that had
                       3   falsified times on them) to compare with electronic records to understand the full extent of the fraud
                       4   committed, Mr. Wimer, one of Pinnacle’s most senior managers at Irwin, who had instructed
                       5   employees to falsify data, also allegedly permitted the wholesale destruction of all hard copy work
                       6   orders in 2007. Ex. 48, 6/26/14 Defs.’ Supp. Resp. to PMK Topics 3-5, 4 (“The boxes [hard copy
                       7   work orders] on the pallet were then put in a dumpster.”).7 Thus, for the nearly 18 months since
                       8   entry of the State Court’s December 26, 2012 Order, the Monterey and Irwin owners have been
                       9   forced to continue to employ an agent that they wish to terminate, while that agent has continued to
                   10      engage in fraud that harms the Projects and puts the lives of soldiers and their families at risk.
                   11             D.      Plaintiffs Appeal the State Court’s Injunction and Amend Their Complaint.
                   12             A notice of entry of the injunction was served on January 8, 2013. Ex. 51, 1/8/2013 Notice
                   13      of Entry of Order Granting Prelim. Inj. Plaintiffs timely appealed the injunction to the California
                   14      Court of Appeal on January 24, 2013. Ex. 52, 1/24/2013 Notice of Appeal. The appeal was fully
                   15      briefed as of November 1, 2013. On August 25, 2014, the Court of Appeal issued an Oral Argument
                   16      Waiver Notice, and on August 27, 2014 Plaintiffs filed their Request for Oral Argument. See Ex. 53,
                   17      8/25/14 Oral Arg. Waiver Notice and Ex. 54, 8/27/2014 Req. for Oral Arg. When the case was
                   18      removed on September 2, the appeal was mooted. For nearly two years now as a result of the
                   19      preliminary injunction, the Owners have suffered a defalcating Property Manager that has posed and
                   20      continues to pose grave financial and life-safety risks to the Owners and military families at both the
                   21      Monterey and Irwin Projects.
                   22

                   23      7
                               Pinnacle has destroyed hard copy work orders at the other Military Projects on a massive scale as
                   24          well. See Ex. 61, 7/20/2012 L. Dudney Decl.; Ex. 49, 9/12/2011 Hr’g Tr. 310 (testimony Mike
                               Rouen, AMS’s Director of Military Housing, that hard copy work orders for Fort Belvoir were
                   25          “discarded or lost” and in any event “don’t exist”). There is substantial evidence that Mike
                               Rouen, along with Stan Harrelson, initiated and approved of this work order fraud in order to
                   26          inflate the incentive fee earned by AMSC and AMSE. See e.g., Ex. 50, 2/12/2004 Email from S.
                               Harrelson to M. Rouen and R. Mauzy; Ex. 32, 2/15/2012 P. Zyzyk Aff. ¶ 7 (stating that Mike
                   27          Rouen told her to “do ‘what is in the best interest of Pinnacle’” when she confronted him about
                               her having been instructed by her management “to falsify work order data in order to increase the
                   28          pass percentage.”).


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                       1                                          LEGAL STANDARD
                       2          Upon removal, a district court should dissolve any preliminary injunction issued by the State

                       3   Court that was the product of clear legal error. See Johnston v. Tampa Sports Auth., 530 F.3d 1320,

                       4   1322 (11th Cir. 2008) (holding district court abused discretion in failing to dissolve preliminary

                       5   injunction issued by State Court prior to removal on grounds of misapplying state law). A motion

                       6   pursuant to Rule 59 is the appropriate procedure for review and dissolution of erroneous State Court

                       7   judgments by a district court post-removal.8 See Resolution Trust Corporation v. Bayside

                       8   Developers, 43 F.3d 1230, 1237–1238 (9th Cir. 1995) (“In all cases removed to the district court

                       9   after judgment has been entered by a State Court, the parties may file motions to alter, modify or

                   10      open the judgment. . . the motions we envision are those in the nature of proceedings under Federal

                   11      Rule of Civil Procedure 59 (e)”); see also Brooks v. GAF Materials Corp. 284 F.R.D. 352, 356

                   12      (D.S.C. 2012) (“[A] party may file a motion to alter or amend a State Court judgment made prior to

                   13      removal under Rule 59(e) which must be served no later than twenty-eight days after the district

                   14      court’s entry of the State Court judgment as its own.”).

                   15              “To warrant a preliminary injunction, [the movant] must demonstrate that it meets all four of

                   16      the elements of the preliminary injunction test.” DISH Network Corp. v. F.C.C., 653 F.3d 771, 776

                   17      (9th Cir. 2011). Thus, in federal court, Defendants bear the burden of proving (1) a likelihood of

                   18      success on the merits of its claims; (2) a likelihood that it will suffer irreparable harm in the absence

                   19      8
                               Plaintiffs do not seek reconsideration pursuant to Rule 54 and Civil Local Rule 7-9 thus does not
                   20          require Plaintiffs to seek leave of court in this instance. Civil Local Rule 7-9 only applies to
                               motions to “reconsider” “interlocutory orders” and “does not apply to final judgments.” Nidec
                   21          Corp. v. Victor Co. of Japan, No. c05-0686 SBA, 2007 WL 4108092, at *2 (N.D. Cal. Nov. 16,
                               2007). “Motions for reconsideration of judgments are properly brought pursuant to Federal Rule
                   22          of Civil Procedure 59(e).” Id.

                   23          The preliminary injunction entered by the State Court is a judgment as that word is used in the
                               Federal Rules of Civil Procedure. Credit Suisse First Boston Corp. v. Grunwald, 400 F.3d 1119,
                   24          1124, n.6 (9th Cir. 2005) (“Rule 59(e) applies to ‘[a]ny motion to alter or amend a judgment,’
                               and under Rule 54(a), a judgment is defined to include ‘any order from which an appeal lies.’
                   25          Because 28 U.S.C. § 1292(a)(1) establishes appellate jurisdiction over an appeal from a
                               preliminary injunction, a preliminary injunction order is a “judgment[.]”) (emphasis added
                   26          and citation omitted); Balla v. Idaho State Bd. of Corr., 869 F.2d 461, 466-67 (9th Cir. 1989)
                               (“The word judgment as used in the Federal Rules of Civil Procedure is defined in Rule 54(a). A
                   27          judgment includes a decree and any order from which an appeal lies. Thus, the word “judgment”
                               encompasses final judgments and appealable interlocutory orders.”) (emphasis added and
                   28          citations omitted).


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                       1   of injunctive relief; (3) that “a balance of hardships tips sharply” in its favor; and (4) that any
                       2   injunction is supported by the public interest. Alliance for the Wild Rockies v. Cottrell, 632 F.3d
                       3   1127, 1135 (9th Cir. 2011) (emphasis added); Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7,
                       4   22 (2008) (reversing grant of preliminary injunction and holding Ninth Circuit’s prior preliminary
                       5   injunction standard to be “too lenient”). If a movant fails to prove any of the four elements, a
                       6   preliminary injunction shall not issue. Calence v. Dimension Data Holdings, 222 Fed.Appx. 563,
                       7   566 (9th Cir. 2007) (“The district court employed the correct legal standard and was not required to
                       8   reach the likelihood of success on the merits where it determined that there was no evidence of
                       9   irreparable harm.”).
                   10             Pursuant to Rule 59(e), a district court may dissolve a State Court’s injunction upon a
                   11      showing of “(1) an intervening change in the controlling law; (2) new evidence that was not
                   12      available at the time of the ruling, or (3) that there has been a clear error of law or a manifest
                   13      injustice.” Robinson v. Wix Filtration Corp, 599 F.3d 403, 407 (4th Cir. 2010); see also Johnston,
                   14      530 F.3d at 1324-25; National Viatical, Inc. v. Universal Settlements Intern., Inc., 716 F.3d 952,
                   15      956–957 (6th Cir. 2013) (dissolving injunction granted by State Court after removal to federal court
                   16      because movant had failed to show likelihood of success on the merits and irreparable harm); Smith
                   17      v. Clark County Dist., 727 F.3d 950, 955 (9th Cir. 2013) (finding “district court did not abuse its
                   18      discretion by reconsidering its prior order” when it determined it had “a clear error of law” by not
                   19      applying controlling precedent). Here, there has been both a clear error of law and manifest injustice
                   20      as well as the development of new evidence of ongoing fraud.
                   21                                                ARGUMENT
                   22      I.     CONTROLLING CALIFORNIA LAW FORECLOSES ANY LIKELIHOOD OF
                   23             DEFENDANTS SUCCEEDING ON THE MERITS.

                   24             At its heart, this motion involves a “narrow question of pure law” that can be fully answered
                   25      by reviewing one governing contract at each Project (the nearly identical PMAs) and dispositive
                   26      California law. Pac. Landmark. 23 Cal. Rptr.2d at 557. The PMAs make it clear that the Property
                   27      Manager has been retained as an agent and manager only, and Pacific Landmark holds that such an
                   28

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                       1   agency is always revocable. Id. 9 For this reason, it is impossible for AMSC to show a likelihood of
                       2   success on its claims that it holds an irrevocable agency, and an injunction should not issue. FHR
                       3   TB, LLC v. TB Isle Resort LP, 865 F. Supp.2d 1172, 1178 (S.D. Fla. 2011). (“[t]he issue here is not
                       4   whether [Property Manager] is likely to prevail on a breach of contract claim, the issue here is
                       5   whether [Property Manager] is likely to prevail on its argument that its agency relationship with [the
                       6   Owners] is irrevocable”); see also 9/2/2014 Defs.’ Counterclaims 3-4, Docket No. 12. Because
                       7   AMSC cannot show a modicum, let alone a likelihood of success, this Court need not examine the
                       8   remaining elements required for injunctive relief; an injunction is permissible only if a movant
                       9   satisfies all four elements under federal law. See DISH Network, 653 F.3d at 776.
                   10             In prior briefing, Defendants have argued that the 30% membership interests held by the
                   11      Pinnacle Minority Members can somehow be coupled with the agency held by the separate legal
                   12      entity serving as the Property Manager to create an irrevocable agency in the Property Manager.
                   13      E.g., Ex. 42, 10/2/2012 Defs.’ Ex Parte Appl. for Order to Show Cause re Prelim. Inj. and TRO.
                   14      However, the Pinnacle Minority Members (neither of which is a party to the PMAs) are separate
                   15      legal entities from the Property Manager, specifically created to hold the equity held by certain
                   16      parent AMS investing officers. What is more, while parent AMS does business as “Pinnacle” and
                   17      has several affiliates, each are distinct legal entities and there simply is not, as a matter of undisputed
                   18      fact, a legal entity called “Pinnacle.” See Ex. 55, 11/18/2005 D. Krull Email to L. Sperry and M.
                   19      Rouen (Email from AMS’s general counsel David Krull, explaining that “[T]here is no such thing as
                   20      ‘Pinnacle’—it is incorrect to say we are an affiliate of ‘Pinnacle’ - ‘Pinnacle’ is a dba only.”).
                   21      Defendants’ argument as accepted by the State Court, which depends on conglomerating multiple
                   22      and distinct entities under a “Pinnacle” banner, contravenes dispositive case law that holds there can
                   23      be no agency coupled with an interest where the legal entity selected as property manager does not
                   24
                           9
                   25          Whether the agency created by the PMAs can be revoked by the Owners under Cal. Civ. Code §
                               2356 is governed by California law; the Projects are located in California and the PMAs both
                   26          contain choice-of-law provisions selecting California law as the governing law. See Exs. 7 and
                               8, PMAs §24.1. Whether or not an injunction should issue is governed by the federal procedural
                   27          law. See FHR, 865, F. Supp.2d at 1191 (“While [state] law applies to the terms of the
                               [management agreement], federal procedural law governs the Court's interpretation and
                   28          application of the injunction standards.”).


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                       1   hold any vested interest. Pac. Landmark, 23 Cal. Rptr.2d at 563. As Pacific Landmark states, for
                       2   strong policy reasons, the fact that affiliated entities hold the interest does not change the analysis or
                       3   outcome. Id.; see also FHR, 865 F. Supp.2d at 1198.
                       4           Pacific Landmark, controlling precedent here, involved the equity investments in a hotel
                       5   made by Marriott Hotels affiliate, SDHI, and the 60-year property management contract the hotel
                       6   held with property management agent MHI, a separate Marriott affiliate. Pac. Landmark, 23 Cal.
                       7   Rptr.2d at 557-58. The managing agent, MHI, claimed that the management agreements were
                       8   irrevocable because MHI had an agency coupled with an interest as stipulated in the management
                       9   contract. Id. at 558. The trial court concluded that “Marriott and its affiliates” together held an
                   10      agency and an interest in the hotels. Id. at 559. The trial court stated: “[The owners’] argument was
                   11      focused upon the fact that we should just focus this on the one tree, that is, MHI, and ignore the
                   12      balance of it. I chose in this case to look at the forest and take a look at the entire transaction.” Id.10
                   13                The Court of Appeal reversed. Specifically it held that the trial court’s focus on the “forest”
                   14      was erroneous: “As the trial court noted, it was looking at the forest and not the tree. The narrow
                   15      issue presented, however, concerned only the tree MHI.” Id. at 563. The court went on to find that
                   16      there was no basis to conclude that MHI, the “separate affiliate of Marriott carefully selected as the
                   17      contracting parties for the Management Agreements,” had an interest in the subject matter of the
                   18      agency:
                   19              The bottom line … is that neither defendants nor the court below could identify any
                                   “interest” of MHI in the Hotel or point to any document involved in the transaction
                   20              which memorialized such an interest, other than to assert MHI has an interest
                                   through “Marriott and its affiliates’” interests. Such, however, does not recognize the
                   21              separate corporate entities to this business transaction.
                   22
                           Pac. Landmark, 23 Cal. Rptr.2d at 562-63 (emphasis added). Of course, Defendants are making this
                   23
                           same substantive—and erroneous—argument as the Marriott affiliates did in Pacific Landmark.
                   24
                                   Federal courts have fully endorsed this Pacific Landmark holding. See FHR, 865 F. Supp.2d
                   25
                           at 1198; see also Gov’t Guarantee Fund of Republic of Finland v. Hyatt Corp. 95 F.3d 291, 305–6
                   26
                           10
                   27           The State Court here admitted that it too was “seduced” by this “forest” argument. Ex. 44,
                                11/15/2012 Hr’g Tr. 80:2–4 (“I find myself perhaps seduced, as [the] trial court in Pacific
                   28           Landmark, by the complexity of the arguments and the relationships.”


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                       1   (3rd Cir. 1996). In FHR, the question was whether a district court could enjoin a property owner
                       2   from revoking the agency of its manager under New York state law.11 In that case, the manager
                       3   (Fairmont) entered into a hotel management agreement that granted a Fairmont affiliate several
                       4   interests in the hotel, including rights of first offer and first refusal to purchase the hotel. FHR, 865
                       5   F. Supp.2d at 1188. In a detailed opinion, the district court explained that the manager’s agency was
                       6   revocable because the legal entity that was appointed manager by the management agreement did not
                       7   hold any interest in the project. Id. at 1198 (“Even if a Fairmont affiliate . . . had a present vested
                       8   interest in the hotel, that interest would not make Fairmont’s agency irrevocable.”). Id. The district
                       9   court thus denied the injunction, holding that Fairmont’s “agency relationship is not coupled with the
                   10      interest required to make it irrevocable, and, as a matter of law, may be revoked at the will of the
                   11      principal.” Id. at 1199.
                   12              Notably, the provisions of the management agreements relied on by the Pacific Landmark
                   13      and FHR courts in concluding that the manager’s agency was revocable also are present in the PMAs
                   14      between the Owners and the Property Manager. For example, all three contracts contain an “entire
                   15      agreement clause” stating that there are no other agreements governing the manager’s agency. See
                   16      Exs. 7 and 8 , PMAs §22 (“This Agreement . . . constitutes the entire agreement between Owner[s]
                   17      and Manager with respect to the management and operation of the Project”); see also Pac.
                   18      Landmark, 23 Cal. Rptr.2d at 562-63; FHR 865 F. Supp.2d at 1199. And the Pacific Landmark
                   19      management agreement shares a provision with the PMAs that expressly states that the manager was
                   20      retained as a manager only:
                   21              Manager is engaged independently in the business of property management and acts
                                   hereunder as an independent contractor. Nothing contained in this Agreement shall
                   22              be construed as creating a partnership, joint venture, or any other relationship
                                   between the parties to this Agreement, or as requiring Manager to bear any portion of
                   23              losses arising out of or connected with ownership or operation of the Project.
                   24
                           See Exs. 7 and 8, PMAs §10 (emphasis added); see also Pac. Landmark, 23 Cal. Rptr.2d at 557.
                   25
                           Thus the PMAs expressly absolve the Property Manager from any risk or benefit associated with an
                   26

                   27      11
                                As the district court noted, New York law is substantially similar to California law on the issue
                   28           of a principal’s power to revoke an agency. FHR, 865 F. Supp.2d at 1195.


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                       1   equity interest.    Read in concert, these provisions make clear that the Property Manager’s
                       2   relationship with the Owners under the PMAs is as an agent only, and the Property Manager has no
                       3   other rights or interests.12
                       4           In addition, in both Pacific Landmark and FHR, the managers had a stronger (but ultimately
                       5   unsuccessful) argument than the Property Manager has here, because unlike the PMAs here, those
                       6   management agreements expressly stated that they created an agency coupled with an interest. Pac.
                       7   Landmark, 23 Cal. Rptr.2d at 557-58; FHR, 865 F. Supp.2d at 1182. The PMAs contain no
                       8   equivalent statements.
                       9           A.      Record Facts Further Show that the Property Manager’s Agency is
                                           Revocable.
                   10
                                   If the Court looks beyond the dispositive contract documents, further evidence from
                   11
                           Defendants confirms that the Property Manager’s agency is not coupled with any interest.
                   12
                           Defendants admitted in sworn discovery responses that AMSC, the sole Property Manager, has no
                   13
                           ownership interest in the Owners or the Military Projects. Ex. 10, 10/22/2012 Defs.’ Resp. to Pls.’
                   14
                           Req. for Admis. [Nos. 1-4] (Defendants “admit” that “American Management Services California,
                   15
                           Inc. has no ownership interest in Monterey Bay Military Housing, LLC.”). Defendants also have
                   16
                           admitted that the Pinnacle Minority Members are not the property managers at the Military Projects.
                   17
                           See Ex. 56, 10/24/2012 J. Carrosino Dep. Tr. 37:11-14 (Deposition of AMS Chief Financial Officer
                   18
                           John Carrosino: “Q: Can we agree that Pinnacle Monterey LLC and Pinnacle Irwin LLC are not the
                   19
                           property managers at the Monterey and Irwin projects? A: I would agree with that statement.”).
                   20
                                   Indeed, the former CEO of AMS testified that the Pinnacle Minority Members’ equity was
                   21
                           intentionally decoupled from AMSC’s agency—through use of separate legal entities—in order to
                   22
                           insulate the equity interest from the Property Manager’s risk. See Ex. 15, 10/23/2012 S. Harrelson
                   23
                           Dep. Tr. 76:9-12 (“[T]here are risks associated with the management company that we think had no
                   24
                           bearing on the equity position held at the Pinnacle Monterey level.”). The Pacific Landmark court
                   25
                           12
                   26           Under the PMAs, the Property Manager receives fees paid for its management services. The law
                                provides that such fees do not create an agency coupled with an interest. Woolley v. Embassy
                   27           Suites, Inc., 278 Cal. Rptr. 719, 726 (Cal. Ct. App. 1991) (“Monetary compensation, in whatever
                                form it may take, does not create a power coupled with an interest so as to make the agency
                   28           irrevocable “); Pac. Landmark, 23 Cal. Rptr.2d at 563; FHR, 865 F. Supp.2d at 1212.


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                       1   identified such risk diversification into separate legal entities as a key fact in finding the managing
                       2   agent did not hold an interest:
                       3           For business reasons, Marriott chose to have the Management Agreements drafted
                                   only between MHI and Owners. . . We assume one of the purposes of these separate
                       4           corporate entities was to insulate Marriott from liability . . . It is well recognized that
                                   the law permits the incorporation of businesses for the very purpose of isolating
                       5           liabilities among separate entities. Since society recognizes the benefits of allowing
                                   persons and organizations to limit their business risks through incorporation,
                       6           sound public policy dictates that disregard of those separate corporate entities be
                                   approached with caution.
                       7
                           Pac. Landmark, 23 Cal. Rptr.2d at 562-63.
                       8

                       9           B.     The Property Manager’s Agency is not Coupled in Time with the Pinnacle
                                          Minority Members’ Membership Interests.
                   10              Under California law, to create an agency coupled with an interest, the agency and interest
                   11      must also be coupled in time. Pac. Landmark, 23 Cal. Rptr.2d at 562. Here, the Property Manager’s
                   12      agency is not coupled in time with the creation of the interest held by the Pinnacle Minority
                   13      Members. At the Irwin Project, the Pinnacle Minority Member’s membership interest was created
                   14      more than nine months before the Property Manager was retained as an agent. Compare Ex. 14,
                   15      5/21/2003 CP Irwin Operating Agreement (reflecting effective date of May 21, 2003), with Ex. 8,
                   16      3/01/2004 Irwin PMA (reflecting execution date of March 1, 2004). Similarly, at the Monterey
                   17      Project, the Pinnacle Minority Member’s membership interest has an effective date of October 30,
                   18      2001—nearly two years before the Property Manager was retained as an agent. Compare Ex. 13,
                   19      10/30/2001 CP Monterey Operating Agreement (stating that it became effective on October 30,
                   20      2001), with 10/01/2003 Ex. 7, Monterey PMA (dated October 1, 2003). Thus, because there is no
                   21      such concurrency in time, the Property Manager cannot be deemed to have an agency coupled with
                   22      an interest.
                   23
                                   C.     Nothing in the CP Operating Agreements Limits the Owners’ Statutory
                   24                     Power to Revoke the Property Manager’s Agency.
                                   In prior briefing, Defendants have argued that certain contractual rights held by the Pinnacle
                   25
                           Minority Members under the CP Operating Agreements limit the Owners’ power to revoke the
                   26
                           Property Manager’s agency. Specifically, Defendants claim that terminating the PMAs is a “Major
                   27
                           Decision” requiring the Pinnacle Minority Member’s consent because it amounts to (i) a conveyance
                   28

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                       1   or disposition of a major asset pursuant to section 3.1(b)(3)(A) of the CP Operating Agreements, or
                       2   (ii) an amendment of the PMAs pursuant to section 3.1(b)(3)(E) of the CP Operating Agreements.
                       3           Both of these arguments are meritless and were previously rejected by the Georgia Court
                       4   with respect to substantially similar provisions involving the Owner entities at Fort Benning and Fort
                       5   Belvoir. 13 Section 3.1(b)(3)(A) only applies to dispositions of substantial assets of “the Company,”
                       6   defined as Clark Pinnacle Monterey Bay LLC and Clark Pinnacle California Military Communities
                       7   LLC. Neither of those entities are parties to the PMAs, and the PMAs are not “assets” of any party;
                       8   they are contracts by which the Owners pay fees to the Property Manager. The law is clear that such
                       9   fees do not create an irrevocable agency. Woolley v. Embassy Suites, Inc., 278 Cal. Rptr. 719, 726
                   10      (Cal. Ct. App. 1991) (“Monetary compensation, in whatever form it may take, does not create a
                   11      power coupled with an interest so as to make the agency irrevocable.”). And further, section
                   12      3.1(b)(3)(E) of the CP Operating Agreements only applies to amendments of the PMAs; it explicitly
                   13      states that it does not apply to enforcement of the PMAs’ termination provisions.                          Section
                   14      3.1(b)(3)(E).
                   15              More fundamentally, even if Defendants’ arguments about their contractual rights were valid
                   16      (and they are not), they could not prevent the exercise of the Owners’ statutory power to revoke the
                   17      PMAs. Woolley, 278 Cal. Rptr. at 724 (“It is a cardinal principle of agency law that a principal who
                   18      employs an agent always retains the power to revoke the agency[.] Although the termination cannot
                   19      be prevented by the agent, the agent's remedy for wrongful termination is damages, as in any other
                   20      breach of contract action.”); FHR 865 F. Supp.2d at 1195 (noting the “sharp distinction between a
                   21      principal's power to revoke an agency outside the terms of the contract and the principal's rights
                   22      under the contract”) (emphasis in original). The Pinnacle Minority Members’ contractual rights are
                   23      not before this Court on this motion; rather, the injunction improperly restrains the Owner’s
                   24      statutory revocation power, which exists independent of and supersedes any contractual right.
                   25

                   26      13
                                Defendants raised these same arguments in opposition to Plaintiffs’ Motion for Summary
                   27           Judgment. See Ex. 57, 2/17/2014 Opp’n Br. at 4. The Georgia Court rejected these arguments,
                                holding that the admitted misconduct by Pinnacle employees automatically terminated the
                   28           PMAs. Ex. 36, 3/20/2014 Order Granting Partial Summ. J.


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                       1   II.      DEFENDANTS ALSO FAIL THE REMAINING THREE ELEMENTS REQUIRED
                                    FOR INJUNCTIVE RELIEF.
                       2
                                    A.     The Property Manager Has An Adequate Remedy at Law and Thus Cannot
                       3
                                           Show Irreparable Harm.
                       4            While the Court need not undergo this analysis (because Defendants cannot show any
                       5   likelihood of success that AMSC holds an irrevocable agency), Defendants similarly fail the
                       6   remaining three elements of the preliminary injunction test and thus cannot make any of the four
                       7   showings required for injunctive relief. DISH Network, 653 F.3d at 776; see also Calence, 222
                       8   Fed.Appx. at 566.
                       9            The second element necessary for injunctive relief is not met because the only harm that will
                   10      be suffered by any party or entity upon the revocation of AMSC’s agency is the loss of AMSC’s
                   11      fees, and that is adequately remedied by money damages. Woolley, 278 Cal. Rptr. at 728; FHR, 865
                   12      F. Supp.2d at 1212; Thayer Plymouth Ctr., Inc. v. Chrysler Motors Corp., 63 Cal. Rptr. 148, 152
                   13      (Cal. Ct. App. 1967); Oakland Tribune, Inc., v. Chronicle Publishing Co., Inc., 762 F.2d 1374, 1376
                   14      (9th Cir. 1985) (holding newspaper's alleged injury of lost circulation and revenue involved purely
                   15      monetary harm measurable in damages and did not rise to level of irreparable injury which would
                   16      justify granting preliminary injunction.). In Woolley, the management contract set forth the fee
                   17      percentage and the number of years remaining on the contract. The court noted that the agent also
                   18      had a “track record” that could be used to project future fees. Given that lost fees could reasonably
                   19      be calculated, there was no “irreparable harm” to be remedied through injunctive relief. 278 Cal.
                   20      Rptr. at 728-29.
                   21               This case is indistinguishable from Woolley on this point because Defendants have admitted
                   22      that they can calculate the fees the Property Manager might have earned as damages from
                   23      termination of the PMAs.14 Defendants have in fact specifically calculated the “base fees” and
                   24      “incentive fees” that the Property Manager expected to receive from services provided at the
                   25

                   26      14
                                 Similarly, the court in FHR found that revoking the manager’s agency would not cause
                   27            irreparable harm because Fairmont’s COO admitted on cross examination that Fairmont tracked
                                 the values of the projected management fees and related goodwill on its balance sheets. FHR,
                   28            865 F. Supp.2d at 1189.


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                       1   Monterey and Irwin Projects. See Ex. 58, 11/06/2012 Declaration of T. Guleserian ¶¶ 8-9. Stan
                       2   Harrelson, the CEO of the AMS, testified that he has calculated the exact amount of fees that the
                       3   Property Manager would lose if its agency is revoked. See Ex. 15, 10/23/2012 S. Harrelson Dep. Tr.
                       4   83:3-84:25.
                       5          B.      The Balance of Equities Sharply Tips in the Owner’s Not the Property
                       6                  Manager’s Favor.
                                  Under Ninth Circuit precedent, in order for a movant to obtain a preliminary injunction they
                       7
                           must show that “a balance of the hardships tips sharply” in its favor. Alliance for the Wild Rockies
                       8
                           632 F.3d at 1138 (emphasis added).         On the contrary, the equities tip sharply (if not reside
                       9
                           completely) in the Owners’ favor. The Owners do not trust or want AMSC to continue to perform
                   10
                           property management services at Monterey or Irwin. The Army likewise supports the prompt
                   11
                           removal of AMSC at both Monterey and Irwin, believing it to be in the best interest of the Army and
                   12
                           its soldiers. Ex. 1, 9/19/2014 P. Cramer Decl. ¶ 8 (“As the Army’s official decision marker on these
                   13
                           issues relating to this litigation, it is my belief that prompt removal of AMSC is in the best interest of
                   14
                           the Army and of its soldier-residents at Monterey and Irwin.”). Not only does the Army have a zero
                   15
                           tolerance for fraud, but it has a sharp concern for the life-safety risk presented to its soldiers and
                   16
                           their families by the conduct of Pinnacle. See id. at ¶¶ 6–7; Ex. 5, 9/27/2012 Letter Agreement
                   17
                           between MBMH and U.S. Army (authorizing removal of Property Manager by U.S. Army); Ex. 6,
                   18
                           9/27/2012 Letter Agreement between CMC and U.S. Army (same); see also Ex. 2, 12/12/2013 J.
                   19
                           Calcara Dep. Tr. 54:11–25 (“fraud does not have scalability in the federal government.”).
                   20
                                  What is more, fraud by its nature is difficult to detect and remedy. This is especially true
                   21
                           where, as here, Defendants have shown a tendency to destroy, cover up and fail to produce key
                   22
                           evidence. Defendants have admitted to regularly destroying hard copy work orders. E.g. Ex. 48,
                   23
                           6/2620/14 Defs. Supp. Resp. to PMK Topics 3-5, 4 (“The boxes [hard copy work orders] on the
                   24
                           pallet were then put in a dumpster.”); Ex. 49, 9/12/2011 Hr’g Tr. 310 (testimony Mike Rouen,
                   25
                           AMS’s Director of Military Housing, that hard copy work orders for Fort Belvoir were “discarded or
                   26
                           lost” and in any event “don’t exist”). In the Georgia litigation, when confronted with hiding
                   27
                           documents, Defendants were forced to admit in open court that “Defendants … without good or
                   28

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                       1   reasonable cause, have failed to comply with those discovery requests including producing
                       2   documents in a timely manner.” Ex. 59, 12/12/2012 Am. Ga. Super. Ct. Order. When Defendants
                       3   still failed to produce critical documents that implicated them in fraud, the Georgia Court ordered
                       4   harsh sanctions, finding that “Pinnacle has engaged in a willful pattern and practice of failure to
                       5   comply with its discovery obligations” and that “Pinnacle has failed to comply with this Court’s
                       6   Orders of 12/12/12 as amended and 5/15/13 as reflected in the evidence received by this Court.” Ex.
                       7   60, 10/30/2013 Ga. Super. Ct. Order ¶ 1. “The Court finds that Pinnacle’s misconduct was willful
                       8   and prejudicial to the Plaintiffs.” Id. at ¶ 2. Thus there is a strong case to be made that Plaintiffs and
                       9   the Army need to take property management functions away from Defendants as soon as possible. If
                   10      Plaintiffs wrongly do so, Defendants have a claim for money damages.
                   11             C.      An Injunction Forcing an Agent on an Unwilling Principal is Against the Public
                   12                     Interest.
                                  The State Court’s preliminary injunction is contrary to the public interest because it saddles
                   13
                           the Owners, the Army and military families with an unwanted agent that has engaged (and continued
                   14
                           to engage) in fraud and intentional misconduct. If “the impact of an injunction reaches beyond the
                   15
                           parties, carrying with it a potential for public consequences, the public interest will be relevant to
                   16
                           whether the district court grants the preliminary injunction.” Stormans, Inc. v. Selecky, 586 F.3d
                   17
                           1109, 1139 (9th Cir. 2009) (reversing overbroad preliminary injunction as an abuse of discretion).
                   18
                           Here, innocent third parties, specifically the service members and their families who reside at the
                   19
                           Projects, are detrimentally affected by the continued agency of the Property Manager.                           These
                   20
                           military families are not just being deprived of honest property management services, but are subject
                   21
                           to known life-safety issues as a result of the Property Manager’s dereliction of duty.                         Ex. 1,
                   22
                           9/19/2014 P. Cramer Decl. ¶ 6 (“As the Army’s official decision marker on issues relating to this
                   23
                           litigation, it is my belief that the closing of open work orders without work being completed creates
                   24
                           potential life and safety issues for residents.”). Furthermore, the continued presence of the Property
                   25
                           Manager continues to obstruct the Owners’ ability to detect (and thus remedy) the full scope of
                   26
                           AMSC’s misconduct and resulting harm.
                   27
                   28

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                       1            The public interest element of the preliminary injunction analysis also has been described as
                       2   “another way of inquiring whether there are policy considerations that bear on whether the order
                       3   should issue.” Wright & Miller, Fed. Prac. & Proc. Civ. § 2948.4 (3d ed. 2014). “The public
                       4   interest may also be declared in the form of a statute.” Id. (“[s]tatutes [which] prohibit the issuance
                       5   of a preliminary injunction … support deferring judicial action until a decision has been reached on
                       6   the merits”). Id. Here, California has made an express legislative determination to codify the public
                       7   interest in not having an undesired agent forced upon an unwilling principal. Cal. Civ. Code. §
                       8   2356(a)(1) (“Unless the power of an agent is coupled with an interest in the subject of the agency, it
                       9   is terminated by … [i]ts revocation by the principal.”). California statutory law additionally is firm
                   10      that “[a]n injunction cannot be granted … [t]o prevent the breach of a contract the performance of
                   11      which would not be specifically enforced[.]” Cal. Code Civ. Proc. § 526(b)(5); see also FHR, 865 F.
                   12      Supp.2d at 1179 (“The notion of requiring a property owner to be forcibly partnered with an operator
                   13      it does not want to manage its property is inherently problematic and provides support for the
                   14      general rule that a principal usually has the unrestricted power to revoke an agency.”); Woolley, 278
                   15      Cal. Rptr. at 727. (“courts wish to avoid the friction and social costs which result when the parties
                   16      are reunited in a relationship that has already failed, especially where the services involve mutual
                   17      confidence and the exercise of discretionary authority.”).
                   18      III.     THE STATE COURT’S CLEAR ERROR IS FURTHER EVIDENCED BY ITS
                   19               FINDING OF UNSUPPORTED FIDUCIARY DUTIES.

                   20               Beyond the legally erroneous ruling that the Property Manager has an agency coupled with
                   21      an interest, the State Court ruled that “even if” there is no irrevocable agency, “all persons or entities
                   22      in active concert or participation with Clark, is enjoined from revoking the PMAs because Clark
                   23      [defined as seven distinct entities] owes Pinnacle [defined as four distinct entities] a fiduciary
                   24      duty.” Ex. 43, 12/26/2012 Order at ¶ 2 (emphasis added).
                   25               The use of the defined terms “Clark” and “Pinnacle” grossly misconstrues the relationship
                   26      among the eleven distinct entities subsumed within those overbroad definitions, many of which have
                   27      no contractual or other relationship with each other. For example, there is no contractual or legal
                   28

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                       1   authority for the proposition that Clark Monterey LLC owes Pinnacle Irwin LLC any fiduciary duty,
                       2   but this is the result of the State Court’s clearly erroneous holding.
                       3           Similarly, Plaintiffs have found no cases under state or federal law (and Defendants, in
                       4   numerous rounds of briefing similar issues, have cited no such cases) holding that a principal, like
                       5   the Owners, owes an agent, like the Property Manager, any fiduciary duty. To thus find such a
                       6   broad existence of a fiduciary duty from “Clark” to “Pinnacle” is contrary to law, and a form of
                       7   impermissible “reverse corporate veil-piercing.” “[T]he alter ego doctrine is a doctrine that is used
                       8   to prevent a corporation from using its statutory separate corporate form as a shield from liability
                       9   only where to recognize such would defeat the rights and equities of third persons; it is not a
                   10      doctrine that allows the corporate entity to disregard its own incorporation.” Pac. Landmark, 23
                   11      Cal. Rptr. at 563 (emphasis added); Communist Party v. 522 Valencia, Inc., 41 Cal. Rptr.2d 618,
                   12      626 (Cal. Ct. App. 1995) (“Parties who determine to avail themselves of the right to do business by
                   13      means of the establishment of a corporate entity must assume the burdens thereof as well as the
                   14      privileges.”).
                   15              Such a holding also ignores the strict standards needed to show the existence of a fiduciary
                   16      duty. Lynch v. Cruttenden & Co., 18 Cal. Rptr.2d 636, 640 (Cal. Ct. App. 1993) (stating fiduciary
                   17      relationships arise from contracts or arise from facts demonstrating the formation of a confidential
                   18      relationship and are “created where a person reposes trust and confidence in another person and the
                   19      person in whom such confidence is reposed obtains control over the other person’s affairs.”);
                   20      Oakland Raiders v. Nat’l Football League 32 Cal. Rptr.3d 266, 273 (Cal. Ct. App. 2005)
                   21      (“[f]iduciary duties arise [only] in certain technical, legal relationships.”).
                   22              Thus, the State’s Court’s fiduciary duty holding should not impact the power of the Owners
                   23      to terminate its agency relationship with the Property Manager. Woolley, 278 Cal. Rptr. at 724
                   24      (“Save in the case of an agency coupled with an interest, a principal has the power to revoke an
                   25      agent’s authority at any time[.]”) (emphasis in original); Cal. Civ. Code § 2356(a) (“Unless the
                   26      power of an agent is coupled with an interest … it is terminated by … [i]ts revocation by the
                   27      principal.”).
                   28

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                       1                                              CONCLUSION
                       2          For the foregoing reasons, the State Court’s preliminary injunction prohibiting the Owners
                       3   from revoking the Property Manager’s agency at the Military Projects was based on a clear error of
                       4   law and further should be reevaluated in light of new evidence. Accordingly, Plaintiffs respectfully
                       5   request that this Court dissolve that injunction pursuant to Rule 59.
                       6

                       7
                           DATED: September 19, 2014                         Respectfully submitted,
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                       9
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                   10
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                       1                                     CERTIFICATE OF SERVICE
                       2             I HEREBY CERTIFY that on September 21, 2014 that a copy of the foregoing document is
                       3   being electronically filed with the Clerk of the United States District Court of the Northern District
                       4
                           of California by using the CM/ECF system, which will send notice of such filing to all counsel of
                       5
                           record.
                       6
                           DATED: September 19, 2014                                   KIRKLAND & ELLIS LLP
                       7
                                                                                       Respectfully submitted,
                       8
                                                                                       _/s/ Marc H. Cohen___________
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Kirkland & Ellis LLP
                                                                              25            Plaintiffs’ Motion to Dissolve Preliminary Injunction
3330 Hillview Avenue                                                                        Monterey Bay Military Housing v. Pinnacle Monterey
Palo Alto, CA 94304                                                                                              CASE NO. 5:14-CV-03953 BLF
